Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 1 of 116




                                                                     Hanover00425
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 2 of 116




                                                                     Hanover00426
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 3 of 116




                                                                     Hanover00427
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 4 of 116




                                                                     Hanover00428
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 5 of 116




                                                                     Hanover00429
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 6 of 116




                                                                     Hanover00430
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 7 of 116




                                                                     Hanover00431
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 8 of 116




                                                                     Hanover00432
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 9 of 116




                                                                     Hanover00433
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 10 of 116




                                                                      Hanover00434
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 11 of 116




                                                                      Hanover00435
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 12 of 116




                                                                      Hanover00436
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 13 of 116




                                                                      Hanover00437
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 14 of 116




                                                                      Hanover00438
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 15 of 116




                                                                      Hanover00439
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 16 of 116




                                                                      Hanover00440
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 17 of 116




                                                                      Hanover00441
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 18 of 116




                                                                      Hanover00442
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 19 of 116




                                                                      Hanover00443
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 20 of 116




                                                                      Hanover00444
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 21 of 116




                                                                      Hanover00445
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 22 of 116




                                                                      Hanover00446
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 23 of 116




                                                                      Hanover00447
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 24 of 116




                                                                      Hanover00448
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 25 of 116




                                                                      Hanover00449
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 26 of 116




                                                                      Hanover00450
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 27 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 28 of 116




                                                                      Hanover00452
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 29 of 116




                                                                      Hanover00453
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 30 of 116




                                                                      Hanover00454
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 31 of 116




                                                                      Hanover00455
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 32 of 116




                                                                      Hanover00456
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 33 of 116




                                                                      Hanover00457
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 34 of 116




                                                                      Hanover00458
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 35 of 116




                                                                      Hanover00459
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 36 of 116




                                                                      Hanover00460
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 37 of 116




                                                                      Hanover00461
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 38 of 116




                                                                      Hanover00462
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 39 of 116




                                                                      Hanover00463
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 40 of 116




                                                                      Hanover00464
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 41 of 116




                                                                      Hanover00465
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 42 of 116




                                                                      Hanover00466
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 43 of 116




                                                                      Hanover00467
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 44 of 116




                                                                      Hanover00468
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 45 of 116




                                                                      Hanover00469
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 46 of 116




                                                                      Hanover00470
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 47 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 48 of 116




                                                                      Hanover00472
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 49 of 116




                                                                      Hanover00473
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 50 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 51 of 116




                                                                      Hanover00475
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 52 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 53 of 116




                                                                      Hanover00477
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 54 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 55 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 56 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 57 of 116




                                                                      Hanover00481
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 58 of 116




                                                                      Hanover00482
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 59 of 116




                                                                      Hanover00483
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 60 of 116




                                                                      Hanover00484
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 61 of 116




                                                                      Hanover00485
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 62 of 116




                                                                      Hanover00486
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 63 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 64 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 65 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 66 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 67 of 116




                                                                      Hanover00491
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 68 of 116




                                                                      Hanover00492
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 69 of 116




                                                                      Hanover00493
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 70 of 116




                                                                      Hanover00494
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 71 of 116




                                                                      Hanover00495
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 72 of 116




                                                                      Hanover00496
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 73 of 116




                                                                      Hanover00497
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 74 of 116




                                                                      Hanover00498
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 75 of 116




                                                                      Hanover00499
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 76 of 116




                                                                      Hanover00500
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 77 of 116




                                                                      Hanover00501
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 78 of 116




                                                                      Hanover00502
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 79 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 80 of 116




                                                                      Hanover00504
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 81 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 82 of 116




                                                                      Hanover00506
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 83 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 84 of 116




                                                                      Hanover00508
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 85 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 86 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 87 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 88 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 89 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 90 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 91 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 92 of 116




                                                                      Hanover00516
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 93 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 94 of 116




                                                                      Hanover00518
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 95 of 116




                                                                      Hanover00519
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 96 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 97 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 98 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 99 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 100 of 116




                                                                       Hanover00524
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 101 of 116




                                                                       Hanover00525
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 102 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 103 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 104 of 116




                                                                       Hanover00528
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 105 of 116




                                                                       Hanover00529
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 106 of 116




                                                                       Hanover00530
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 107 of 116




                                                                       Hanover00531
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 108 of 116




                                                                       Hanover00532
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 109 of 116




                                                                       Hanover00533
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 110 of 116




                                                                       Hanover00534
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 111 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 112 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 113 of 116




                                                                       Hanover00537
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 114 of 116
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 115 of 116




                                                                       Hanover00539
Case 1:19-cv-05292-MHC Document 111-9 Filed 09/23/21 Page 116 of 116




                                                                       Hanover00540
